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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                              BUTTE DIVISION

UNITED ST ATES OF AMERICA,                CR 19-13-BU-DLC

                 Plaintiff,

       vs.                                PLEA AGREEMENT

FABJAN ALAMETI,

                 Defendant.


      Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the United

States of America, represented by Jeffrey K. Starnes, Assistant United States

Attorney for the District of Montana, and the defendant, Fabjan Alameti, and the

defendant's attorney, John Rhodes, have agreed upon the following:

      1.     Scope: This plea agreement is between the United States Attorney's

Office for the District of Montana and the defendant. It does not bind any other


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federal, state, or local prosecuting, administrative, or regulatory authority, or the

United States Probation Office.

      2.      Charges: The defendant agrees to plead guilty to Counts I and III of

the lndictment. Counts I and III each charge a separate crime of making a false

statement to a federal officer in a matter involving terrorism, in violation of 18

U.S. C. § 1001. Each count carries a maximum punishment of eight years of

imprisonment, a $250,000 fine, three years of supervised release, and a $100

special assessment. At the time of sentencing, if the Court accepts this plea

agreement, the United States will move to dismiss Counts II and IV of the

indictment.

      3.      Nature of the Agreement: The parties agree that this plea agreement

will be governed by Rules 1 l(c)(l)(A) and (B), Federal Rules of Criminal

Procedure. The defendant acknowledges that the agreement will be fulfilled

provided the United States: a) moves to dismiss, and the Court agrees to dismiss,

Counts II and IV of the indictment; and b) makes the recommendations provided

below. The defendant understands that if the agreement is accepted by the Court,

and Counts II and IV are dismissed, there will not be an automatic right to

withdraw the plea even if the Court does not accept or follow the recommendations

made by the United States.




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       4.    Admission of Guilt: The defendant will plead guilty because the

defendant is guilty of the crimes charged in Counts I and III of the indictment. In

pleading guilty, the defendant acknowledges that:

   • First, the defendant knowingly made a false statement in a matter within the
     jurisdiction of the Federal Bureau of Investigation;

   •   Second, the defendant acted willfully; that is, the defendant acted
       deliberately and with knowledge both that the statement was untrue and that
       his or her conduct was unlawful;

   •   Third, the statement was material to the activities or decisions of the Federal
       Bureau of Investigation, that is, it had a natural tendency to influence, or was
       capable of influencing the agency's decisions or activities; and

   • Fourth, the statements were made in relation to a matter involving
     international or domestic terrorism.

       5.    Waiver of Rights by Plea:

             (a)      The government has a right to use against the defendant, in a

prosecution for perjury or false statement, any statement given under oath during

the plea colloquy.

             (b)      The defendant has the right to plead not guilty or to persist in a

plea of not guilty.

             (c)      The defendant has the right to a jury trial unless, by written

waiver, the defendant consents to a non-jury trial. The United States must also

consent and the Court must approve a non-jury trial.




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               ( d)   The defendant has the right to be represented by counsel and, if

necessary, have the Court appoint counsel at trial and at every other stage of these

proceedings.

               (e)    If the trial is a jury trial, the jury would be composed of 12

laypersons selected at random. The defendant and the defendant's attorney would

have a say in who the jurors would be by removing prospective jurors for cause

where actual bias or other disqualification is shown, or without cause by exercising

peremptory challenges. The jury would have to agree unanimously before it could

return a verdict of either guilty or not guilty. The jury would be instructed that the

defendant is presumed innocent, and that it could not convict unless, after hearing

all the evidence, it was persuaded of the defendant's guilt beyond a reasonable

doubt.

               (f)    If the trial is held by the judge without a jury, the judge would

find the facts and determine, after hearing all of the evidence, whether or not the

judge was persuaded of the defendant's guilt beyond a reasonable doubt.

               (g)    At a trial, whether by a jury or a judge, the United States would

be required to present its witnesses and other evidence against the defendant. The

defendant would be able to confront those government witnesses and the

defendant's attorney would be able to cross-examine them. In turn, the defendant

could present witnesses and other evidence. If the witnesses for the defendant



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would not appear voluntarily, their appearance could be mandated through the

subpoena power of the Court.

             (h)    At a trial, there is a privilege against self-incrimination so that

the defendant could decline to testify and no inference of guilt could be drawn

from the refusal to testify. Or the defendant could exercise the choice to testify.

             (i)    If convicted, and within 14 days of the entry of the Judgment

and Commitment, the defendant would have the right to appeal the conviction to

the Ninth Circuit Court of Appeals for review to determine if any errors were made

that would entitle the defendant to reversal of the conviction.

             U)     The defendant has a right to have the district court conduct the

change of plea hearing required by Rule 11, Federal Rules of Criminal Procedure.

By execution of this agreement, the defendant waives that right and agrees to hold

that hearing before, and allow the Rule 11 colloquy to be conducted by, the U.S.

Magistrate Judge, if necessary.

             (k)    If convicted in this matter, a defendant who is not a citizen of

the United States may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

      The defendant understands that by pleading guilty pursuant to this

agreement, the defendant is waiving all of the rights set forth in this paragraph.




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The defendant's attorney has explained those rights and the consequences of

waiving those rights.

      6.     Recommendations: The United States will recommend the

defendant's offense level be decreased by two levels for acceptance of

responsibility, pursuant to USSG §3El.l(a), unless the defendant is found to have

obstructed justice prior to sentencing, pursuant to USSG §3C 1.1, or acted in any

way inconsistent with acceptance of responsibility. The United States will move

for an additional one-level reduction, pursuant to USSG §3El.l(b), if appropriate

under the Guidelines. The parties reserve the right to make any other arguments at

the time of sentencing.

      The defendant understands that the Court is not bound by these

recommendations.

      7.     Sentencing Guidelines: Although advisory, the parties agree that the

U.S. Sentencing Guidelines must be applied, and a calculation determined, as part

of the protocol of sentencing to determine what sentence will be reasonable.

      8.     Waiver of Appeal of the Sentence - General: The defendant

understands that the law provides a right to appeal and collaterally attack the

sentence imposed in this case. 18 U.S.C. § 3742(a); 28 U.S.C. §§ 2241, 2255.

Based on the concessions made by the United States, the defendant knowingly

waives any right to appeal or collaterally attack any aspect of the sentence,



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including conditions of probation or supervised release and any orders of

restitution. This waiver includes challenges to the constitutionality of any statute

of conviction and arguments that the admitted conduct does not fall within any

statute of conviction. This waiver does not prohibit the right to pursue a collateral

challenge alleging ineffective assistance of counsel.

       9.     Voluntary Plea: The defendant and the defendant' s attorney

acknowledge that no threats, promises, or representations have been made to

induce the defendant to plead guilty, and that this agreement is freely and

voluntarily endorsed by the parties.

       10.    Mandatory Detention After Plea: Pursuant to 18 U .S.C. §

3143(a)(2), the defendant acknowledges that the defendant will be detained upon

conviction unless (A)(i) the Court finds there is a substantial likelihood that a

motion for acquittal or new trial will be granted or (ii) this agreement provides that

the United States will recommend that no sentence of imprisonment be imposed

and (B) the Court finds, by clear and convincing evidence, that the defendant is not

likely to flee or pose a danger to any other person or the community. Then, if

exceptional circumstances exist, the defendant may be released upon conditions.

       11.    Breach: If the defendant breaches the terms of this agreement, or

commits any new criminal offenses between signing this agreement and




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sentencing, the U.S. Attorney's Office is relieved of its obligations under this

agreement, but the defendant may not withdraw the guilty plea.

      12.    Entire Agreement: Any statements or representations made by the

United States, the defendant, or defense counsel prior to the full execution of this

plea agreement are superseded by this plea agreement. No promises or

representations have been made by the United States except as set forth in writing

in this plea agreement. This plea agreement constitutes the entire agreement

between the parties. Any term or condition which is not expressly stated as part of

this plea agreement is not to be considered part of the agreement.


                                        KURTG. ALME
                                        United States Attorney



                                        J E F ~STf\RNES
                                        Assistant · . Si. Attorney
                                        Date: 'g l C\ I Iq



                                        FABJAN'ALAMETI
                                        Defendant
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